
60 So. 3d 605 (2011)
In re Eldon R. HARRALL, Jr.
No. 2011-OB-0807.
Supreme Court of Louisiana.
May 4, 2011.

ORDER
CLARK, J.
Considering the Petition for Transfer to Disability Inactive Status filed by respondent, and the response thereto filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Eldon R. Harrall, Jr., Louisiana Bar Roll number 14986, be and he hereby is transferred to disability inactive status pursuant to Supreme Court Rule XIX, § 22(B). Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
